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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


ESTATE OF ARTURO GIRON
ALVAREZ, et al.

     Plaintiffs
                                           Civil Action No. 1:15-cv-0950 TDC
v.

THE JOHNS HOPKINS UNIVERSITY,
et al.

     Defendants


                  MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFFS’ REPLY TO DEFENDANTS’ OPPOSITION TO
           PLAINTIFFS’ CROSS-MOTION FOR SUMMARY JUDGMENT



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                                              ARGUMENT

I.      DEFENDANTS’ AGENTS, ACTING IN THE SCOPE OF THEIR AGENCY, AIDED AND ABETTED
        AND CONSPIRED TO PERPETRATE THE GUATEMALA EXPERIMENTS

        There is at least a genuine dispute of material fact that agents of Johns Hopkins (“Hopkins”)

and The Rockefeller Foundation (“TRF”) acted within the scope of their agency and for the benefit

of their principals, to aid and abet, and conspire to carry out, the Guatemala Experiments.

        A.      Drs. Moore, Turner, Eagle, and Reed were Hopkins’ agents when they served
                on the Syphilis Study Section and aided and abetted the Guatemala
                Experiments

                1.      These doctors were agents of Hopkins while serving on the Syphilis Study Section

        Hopkins does not deny that it employed Drs. Moore, Turner, Eagle, and Reed from 1946 to

1950, that these individuals acted as its agents during this time, and that it permitted the doctors to

serve on the Syphilis Study Section because that service benefited Hopkins. Instead, it asserts that its

agency relationship automatically ended when the doctors did work incidental to the Study Section.

        Hopkins advances a legal interpretation of a principal’s “control” over his agent that is legally

wrong. “[T]he control a principal exercises over its agent is not defined rigidly to mean control over

the minutia of the agent’s actions…. The level of control may be very attenuated with respect to the

details.” Green v. H&R Block, Inc., 735 A.2d 1039, 1051 (Md. 1999); see also Danner v. International Freight

Sys. Of Wash., 855 F. Supp. 2d 433, 454 (D. Md. 2012) (citation omitted) (“Often an agent is left free

from direct supervisory control as he or she furthers the interest of the principal[.]”).

        This Court has held that the following legal principles from the Restatement (First) of Agency

govern the agency issues in this case:

     (1) a person may simultaneously be the servant of two masters at one time as to one act,
         provided that the service to one does not involve abandonment of the service to the
         other;
     (2) a master remains responsible for a servant lent to another as long as the servant acts
         within the general nature of the conduct authorized or acts incidental to the conduct
         authorized;



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    (3) a master cannot be inferred to have surrendered control over a servant because it
        permitted the second master to exercise some level of control over the servant; and
    (4) an employee may remain within the scope of employment even if the employee
        engages in acts “specifically forbidden” by the employer or uses “forbidden means”
        to accomplish his work.

Estate of Alvarez v. Johns Hopkins Univ., 275 F. Supp. 3d 670, 693-94 (D. Md. 2017) (“Alvarez III”) (citing

Restatement (First) of Agency §§ 226, 227, 229, & 230). Under this law, Hopkins remained the master

of the doctors unless the doctors’ service on the Study Section required “abandonment” of their service

to Hopkins, or went outside the “general nature” of what Hopkins authorized when it allowed them

to serve on the Section – even if they acted in a way “specifically forbidden” by Hopkins, or used

“forbidden means” to accomplish their work.

        Hopkins’ position is also factually wrong. Its doctors’ work on the Study Section was a boon

for Hopkins: it had direct reputational benefits (prestige and status) and direct and indirect financial

benefits (increasing Hopkins’ access to and receipt of research money, collaboration with the

government and other institutions on other research, and ability to recruit talented people). See

Plaintiffs’ Cross-Motion for Summary Judgment/Opposition to Defendants’ Motion for Summary

Judgment (“Cross-Motion/Opp.”) at 14-15; J.R. 1159 (Ex. 34) (participation brought “honor and

money to Hopkins” and allowed it “to continue to raise its profile in the world”); J.R. 5460-61 (Ex.

292) (the doctors’ work made Hopkins one of the largest recipients of grant money). Hopkins even

made its facilities available for Study Section meetings. J.R. 5826; (Ex. 318); 5829 (Ex. 319).

        Hopkins responds that it did not receive a grant related to the Guatemala Experiments, and

its doctors did not publish about them. This does not prove that Hopkins did not seek to benefit. Dr.

Moore and his Hopkins colleagues had hit the limits of their laboratory research, and felt that testing

their work on human subjects was the only way they could advance the research they had been

pursuing for decades at Hopkins. Dr. Moore believed that human experiments had to be done. J.R.

35 (Ex. 1). Dr. Turner wanted to inject test subjects with rabbit syphilis to determine if he was on the



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path to a vaccine. J.R. 4769 (Ex. 214); 5253 (Ex. 262); 5254 (Ex. 263). Dr. Eagle too could not prove

his thesis without a human experiment. J.R. 88 (Ex. 1). To these men, Guatemala was a “gold mine”

– “a way to do the kind of research [they] ha[d] been aching to do for a really long time. They hadn’t

been able to finish the study and go further in Terre Haute. They couldn’t find other human volunteers

who were willing to have gonococcal stuff put in their eyeballs. So this was a great chance.” J.R. 1159

(Ex. 34). The fact that their work was carried out in the Guatemala Experiments proves a benefit or

at least pursuit of a benefit to Hopkins regardless of receipt of grant money.

        Hopkins authorized its doctors to be on the Study Section knowing that they would be

originating research, reviewing proposals, working with other scientists, building support for research

they considered worthwhile, recommending that grant money be spent on specific research projects,

and overseeing the research periodically to decide whether it should continue. J.R. 42-43 (Ex. 1); 492

(Ex. 12); 4981 (Ex. 229). Nothing about their work on the Study Section required the doctors to

“abandon” their service to Hopkins. If anything, it supported that service, and if Hopkins felt to the

contrary, it could have withheld or withdrawn its permission.

        Relatedly, the U.S. Government did not require Study Section members to “abandon” their

service to Hopkins.1 The doctors served “without compensation” from the government, other than a

small per diem for travel expenses, and continued to be paid a salary by Hopkins. See Jt. Stmt. of Undisp.

Facts at ¶ 22; J.R. 1097; 1159-60 (Ex. 34). Study Section members were “outstanding civilian scientists”




        1
          It is important to note that doctors and other professionals with special skills do not usually
become borrowed servants, as urged by Defendants. Such individuals are usually not found to be
under the control of a would-be “borrower,” but rather, keep their relationship with their original
master. See, e.g., Green v. United States, 709 F.2d 1158, 1164 n.6 (7th Cir. 1983). This principle has been
applied to service on a task force, which is akin to the government study section at issue here. See, e.g.
Council for Periodical Distrib. Assoc. v. Evans, 827 F.2d 1483, 1486 (11th Cir. 1987).

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brought together to direct the course of scientific investigations. J.R. 1854, 1856, 1859 (Ex. 77); 4981

(Ex. 229). The government did not question their recommendations.2 J.R. 1099 (Ex. 34).

        Hopkins’ claim that Drs. Moore, Turner, and Eagle “did not hold high-ranking positions” at

Hopkins, and that they lacked institutional power from 1946 to 1948, is disingenuous. Dr. Moore was

an Adjunct Professor in the Hopkins School of Public Health, an Associate Professor of Medicine at

Hopkins Medical School, and “Physician In-Charge” of Hopkins’ Venereal Disease Division, a

position he had held since 1929. J.R. 4789 (Ex. 218); 25 (Ex. 1); 5624 (Ex. 298). He was considered

the “godfather of syphilis studies,” and researchers from around the country came to him for advice.

J.R. 1118 (Ex. 34). Similarly, Dr. Turner was a Professor of Microbiology and Dr. Eagle was an

Adjunct Professor of Bacteriology and Director of the Venereal Disease Laboratory and Laboratory

of Experimental Therapeutics at the Hopkins School of Public Health. Hopkins’ argument is also

inconsistent with the doctors being seen as having “unusual eminence” in their field. J.R. 728 (Ex. 14).

And, the agency principles outlined in detail above do not require these doctors to have held “high-

ranking positions:” the fact that they were agents who were given permission to be on the Study

Section means that Hopkins remained responsible for their actions.

        Finally, even if Hopkins’ doctors acted in a way “specifically forbidden” by Hopkins or used

“forbidden means” to accomplish their work on the Study Section, it does not mean that they were

acting outside the scope of their authorization. See Alvarez III, 275 F. Supp. 3d at 694 (quoting Kolstad

v. Am. Dental Ass’n, 527 U.S. 526, 543 (1999)). A reasonable jury could conclude that Drs. Moore,

Turner, Eagle, and Reed served as agents of Hopkins and the U.S. government simultaneously because

their interests were not contradictory, and the doctors never abandoned their service to Hopkins.



        2
         Hopkins’ argument that its doctors were required to obtain approval before they could
request or receive grant money does not change this analysis. Its doctors were not soliciting funds or
pledging departmental support. They were using their position – both at Hopkins and on the Study
Section – to advance their research.

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                2.      Hopkins’ agents aided and abetted the Guatemala Experiments

        There is ample evidence that Hopkins’ doctors wanted to do research like the Guatemala

Experiments for years. As explained in Plaintiff’s Cross-Motion, Dr. Moore was a dominant force in

bringing about the Terre Haute experiment, in which individuals were intentionally infected with

gonorrhea and then treated with prophylaxis (the same design used in the Guatemala Experiments).

J.R. 27 (Ex. 1). He enlisted support from the Surgeons General (including Dr. Parran) and the

Committee on Medical Research (CMR), and he and his Hopkins colleagues drafted the research

protocol, outlined its goals, and authored a waiver/consent form. J.R. 27-28 (Ex. 1). He overcame

objections about the experiments’ legality, the potential for liability, and the risk of bad publicity, and

secured the support of the Federal Bureau of Prisons. J.R. 29, 31 (Ex. 1). He and his Hopkins

colleagues remained involved, and developed relationships with the men who oversaw the experiment

and implemented it: Drs. Cutler and Mahoney of the U.S. PHS – the same men who were later at the

center of the Guatemala Experiments. J.R. 32-33 (Ex.1). When the experiments failed, Dr. Moore

argued for them to continue and described their ending as a “blow.” J.R. 35 (Ex.1).

        Hopkins asserts that because its agents drafted the consent form for Terre Haute, they were

champions of informed consent who would have never knowingly participated in nonconsensual

experiments. This ignores the fact that the head of the CMR, Dr. A.N. Richards, conditioned his

support of Terre Haute on the people being “utilized as subjects . . . only after the risks have been

fully explained and after signed statements have been obtained which shall prove that the volunteer

offered his services with full knowledge and that claims for damages will be waived.” J.R. 27 (Ex. 1).

An alternative inference is that the doctors saw the need for consent in Terre Haute as a necessary

evil to get what they wanted.

        The evidence suggests that, frustrated by Terre Haute, the doctors never intended the

Guatemala Experiments to be consensual. There is no evidence that the Syphilis Study Section ever



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considered obtaining informed consent in Guatemala. No consent forms were submitted with the

grant application or during the renewal process. No documents using the phrase “informed consent”

were submitted to the CMR or the National Advisory Health Council. No informed consent forms

were found in Dr. Cutler’s records. A reasonable jury could conclude that given the difficulties with

Terre Haute, the doctors knew and agreed that the Experiments would be nonconsensual from the

beginning. Guatemala was a far-away place, the people involved were poor and uneducated, and the

potential “gold mine” made the ends justify the means.3 J.R. 1159 (Ex. 34).

        A jury could also conclude that Hopkins’ agents were privy to the inner details about the

Guatemala Experiments. All four men were involved with and approved the original proposal. They

knew that informed consent had never been discussed or forms drafted. They had already worked and

been on the “inside” of an unethical, arguably nonconsensual experiment with Drs. Mahoney and

Cutler. Hopkins doctors were directly involved in re-approval and funding the Experiments the next

year, and the designation of Dr. Soper as “investigator,” but again did not mention or discuss informed

consent, who was being tested and where, or other questions that people with much less knowledge

than they had would have known to ask. This suggests that they acted intentionally because they did

not want to raise concerns, and they wanted to further the research they had been working on at

Hopkins for years. J.R. 1116 (Ex. 34).

        Hopkins asserts that its doctors did not provide substantial assistance to the Guatemala

Experiments. In making this argument, it ignores conflicting evidence and resorts to arguing the

credibility and weight of evidence, both of which are improper at this stage. See, e.g., Courtney-Pope v.

Board of Educ. of Carroll Cnty., 304 F. Supp. 3d 480, 489 (D. Md. 2018) (citations omitted) (“The judge’s




        3
        Hopkins asserts that the connection between Terre Haute and Guatemala is a theory based
on “wild speculation,” but it ignores that the U.S. Presidential Commission concluded that the
Guatemala Experiments, in part, grew out of the failures in Terre Haute. J.R. 36 (Ex. 1).

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function in reviewing a motion for summary judgment is not to weigh the evidence and determine the

truth of the matter but to determine whether there is a genuine issue for trial … [T]he court may not

make credibility determinations.”). There is no dispute that Hopkins’ doctors approved the

Experiments, acted to prevent controversies that would have caused them to be rejected, and acted

to advance the research they had been conducting at Hopkins for years. J.R. 1155-56, 1159 (Ex. 34);

see also J.R. 36 (Ex. 1); 1915 (Ex. 88); 4783 (Ex. 215); 5259-64 (Ex. 264).

        Additionally, when asked to decide whether to continue funding for the Experiments, the

doctors consulted with each other and changed the language used in the renewal application to protect

the Experiments and avoid criticism. J.R. 4955 (Ex. 231); 4966 (Ex. 232). These men were considered

among the best researchers in their field. Dr. Moore, in particular, was known to be “demanding and

strict.” J.R. 4780 (Ex. 215). The doctors had just spent two years, 1943 and 1944, fighting influential

opponents in the research community about the importance of human studies. Nazi doctors were

being tried in Nuremberg for international rights violations and war crimes, in part for conducting

nonconsensual experiments. And the doctors knew from experience that Drs. Cutler and Mahoney

had, at best, a questionable record on medical ethics. Moreover, if the doctors were on the “outside”

of the conspiracy, as Hopkins suggests, they would not have been getting much, if any, information

about what was happening in Guatemala, there would have been gaps of unexplained work and

expenditures, and they would likely have had questions about how Dr. Cutler was able to get so many

people to give consent. Though Hopkins can claim that its doctors blindly “rubber stamped”

Experiments, a reasonable jury could reject this notion and conclude that they were fully aware of

what was going on. J.R. 1116 (Ex. 34) (Dr. Moore was “too thorough a scientist to ever have approved

this without knowing exactly what was going on”); J.R. 1913-16 (Ex. 88) (referencing “extensive

experimental study in human volunteers in Guatemala which results I am not at liberty to quote”).




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        Hopkins suggests that Dr. Turner may have sent syphilitic rabbits to Guatemala, but that the

rabbits may not have been used. Again, summary judgment is inappropriate where a reasonable jury

could reach different conclusions based on the evidence. See Phoenix Sav. & Loan, Inc. v. Aetna Cas. &

Sur. Co., 381 F.2d 245, 249 (4th Cir. 1967) (“[S]ummary judgment should not be granted … if the

evidence is such that conflicting inferences may be drawn therefrom[.]”). Moreover, Hopkins’

argument misses the point: even if Dr. Turner did not supply rabbits used in Guatemala, he argued

that test subjects be injected with rabbit syphilis, Dr. Mahoney agreed with the suggestion, and Dr.

Cutler injected test subjects because of it. J.R. 5253 (Ex. 262); 5254 (Ex. 253); 65 (Ex. 1).

        B.      Drs. Soper and Parran were TRF’s agents when they aided and aided and
                abetted the Guatemala Experiments

        TRF does not deny that its policy in the 1940s was to work through governments and agencies,

either by using its substantial resources or by embedding its staff in the government or agency to shape

the outcome it wanted. Instead, like Hopkins, it asserts that its agency relationship with Drs. Soper

and Parran automatically ended when Dr. Soper was “assigned” to the PASB, and while Dr. Parran

was simultaneously working as the Surgeon General.

        TRF’s position is legally wrong.4 As discussed above, TRF remained the master of Drs. Soper

and Parran, and is legally responsible for their actions, unless their work required “abandonment” of

their service to TRF, or went outside the “general nature” of what TRF authorized them to do.

        TRF’s position is also factually wrong. There is no dispute that TRF had a principal/agent

relationship with Drs. Soper and Parran. TRF made Dr. Parran a Trustee of its Foundation and a

Scientific Director of the International Health Division. J.R. 4823 (Ex. 224). TRF’s Constitution, By-




        4
          TRF states that it had to be a “driving force” behind the Experiments before it can be held
responsible under the ATS. This is not true. The Court has already held that a defendant can be held
liable for indirectly violating the customary international law if it provided “substantial assistance” to
a direct violator with the “purpose” of facilitating the violation (i.e., aiding and abetting).

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Laws, and Charter set-out the powers of both positions. Though Trustees worked primarily together,

Scientific Directors had more autonomous decision-making power. It is true, as TRF points out, that

Scientific Directors “ma[de] recommendations to the board.” J.R. 2024 (Ex. 95). However, TRF failed

to mention that Scientific Directors were given additional powers, including the “power … to make

commitments in [sic] behalf of the corporation[.]” Id. Scientific Directors were tasked with the

“immediate supervision of the work of [the IHD].” J.R. 2023. Similarly, TRF appointed Dr. Soper an

Associate Director of the IHD (an officer of TRF), and he held that position throughout the

Guatemala Experiments. J.R. 4979 (Ex. 241). He was given the same power to act in a given field as

a director when his director was not in New York. J.R. 2024 (Ex. 95). There is no evidence that these

men “abandoned” TRF’s mission or acted outside of the “general nature” of their authorizations.

               1.      Dr. Soper

       Dr. Soper did not leave or abandon his role at TRF for the PASB; rather, TRF “assigned” him

to the PASB. Dr. Strode, IHD Director, informed Dr. Soper in writing that “as of February 1, 1947,

you are assigned to the Pan American Sanitary Bureau.” J.R. 4979 (Ex. 241) (emphasis added). Dr. Soper

used the same language when he accepted the assignment: “[m]any thanks for your letter . . . assigning

me, as of February 1, 1947, to the Pan American Sanitary Bureau.”5 J.R. 4965 (Ex. 234) (emphasis

added). Dr. Soper made it clear that he was not abandoning TRF, but was instead pursuing its interests:

               I became Director of the [Pan American Sanitary] Bureau on 1
               February 1947. My move to the official international health field was
               not one of abandonment of The Rockefeller Foundation but
               rather of fulfilling its program. It was quite in keeping with
               Foundation policy to make my service available to PASB and I
               remained on its staff during my first four years with the Bureau.

J.R. 2273, 2276 (Ex. 108) (emphasis added).



       5  Dr. Soper stated under oath on an official government form that TRF was his employer from
January 1920 until October 1950. J.R. 4985 (Ex. 243). Conflicting evidence merely establishes that
there is a question of fact.

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       Dr. Soper was not, as TRF asserts, “pursu[ing] a new path without the Foundation’s oversight”

because he was “disappointed” with TRF.6 In a letter to Dr. Strode, Dr. Soper recounted prior

conversations with him and Dr. Parran about their plans – not his – to expand the PASB’s role. J.R.

4965-66 (Ex. 234). Dr. Soper was reluctant, stating that “it seems best for me to consider this as an

assignment from the [IHD] with the hope that some one from the Latin American countries can be

found and developed to take over this post within a few years.” J.R. 4966.

       TRF asserts that Dr. Soper was not assigned to the PASB for purposes of advancing the

Guatemala Experiments. This argument requires too much; it is enough if the assignment furthered

the mission of the TRF generally, and need not be specific to Guatemala. The law set out in Alvarez

III focuses on whether the act at issue – here, assignment to a quasi-governmental agency and pursuing

policies in the interests of both TRF and the agency – is an act “commonly done” by the principal.

This is not in dispute: TRF commonly embedded its agents in senior positions inside governments

and agencies to act as “directing personnel.” J.R. 4719-20 (Ex. 209); 4747 (Ex. 210). It was to this end

that Dr. Parran, in conjunction with Dr. Strode, and acting on behalf of TRF, assigned Dr. Soper, its

25-year employee, to the PASB. J.R. 2234-81 (Ex. 108); 4785 (Ex. 216). Dr. Parran was “keenly

interested” in the work being done in Guatemala. J.R. 2633 (Ex. 138); 2636 (Ex. 139). Given the timing

and circumstances of Dr. Soper’s assignment, it is reasonable to infer that Dr. Parran and Dr. Strode,

using their power at TRF, cleared the way for Dr. Soper to be the head of the PASB and serve as the

“Investigator” for the Experiments.




       6
         TRF claims that nonconsensual experiments were inconsistent with its mission. It does not
provide support for this assertion and there is no reason to suggest that Dr. Soper agreed. It is
reasonable to believe that Dr. Soper thought he was advancing research TRF had funded in the past
or otherwise was supporting important work. Even if TRF is correct, an employee can act within the
scope even when he engages in acts “specifically forbidden” by the employer and uses “forbidden
means of accomplishing results.” Kolstad, 527 U.S. at 543; RESTATEMENT (FIRST) OF AGENCY § 230.

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        Similarly, TRF claims that it had no power to control Dr. Soper’s actions while he was at the

PASB, but Dr. Soper himself could not have been clearer that it did. Writing to Dr. Strode, his boss

and high-ranking decisionmaker at TRF, he said that when he was assigned to the PASB he felt like he

“was no longer a free agent to decide, on the basis of personal preference or of my own financial

interest, where I would work.”7 J.R. 4965 (Ex. 234). He hoped that he would be replaced quickly. J.R.

4966 (Ex 234). TRF paid his salary. J.R. 5049 (Ex. 257). Additionally, and in direct contradiction to

TRF’s argument that his assignment to the PASB caused abandonment of his agency with TRF, Dr.

Soper continued to attend to TRF business unrelated to the PASB. In July 1948, for example, he went

to Sardinia, Italy, to inspect and approve a TRF project with other TRF personnel, after which he

reported back to Dr. Strode at TRF. J.R. 5818-21 (Ex. 314); 5823 (Ex. 315). Also, having Dr. Soper in

place prevented another, less controllable person, from being in that seat. J.R. 395 (Ex. 8).

        Lastly, TRF claims that Dr. Soper did not provide substantial assistance for the purpose of

promoting the nonconsensual experiments. Dr. Soper arrived in Guatemala and met with Dr. Cutler

as the investigator responsible for ensuring the safety and well-being of the test subjects. J.R. 5345

(Ex. 283); 5043 (Ex. 257). He was a conduit and in the middle of correspondence between Drs.

Mahoney and Cutler, including conversations lessons learned in Terre Haute and their application to

Guatemala. J.R. 5816 (Ex. 313); 5824 (Ex. 316); 5825 (Ex. 317). He controlled the purse-strings,

including the hiring and payment of local researchers, and the authorization of gifts to ensured access

to the asylum. J.R. 4994 (Ex. 250); 5003 (Ex. 253); 5825 (Ex. 317). He gave the Experiments cover:

he was the person to whom Drs. Cutler and Mahoney reported in “complete confidence,” ensuring

that another, less controllable person, would not have access to or stumble across information that



        7 TRF claims that the PASB constitution prevented Dr. Soper from acting on outside
influences, but PASB’s Constitution did not become effective until October 1947, after he was named
Director. While this may have been the PASB’s policy on paper after that date, it does not mean that
Dr. Soper followed it or saw his actions as conflicting.

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could jeopardize or expose the Experiments. J.R. 395 (Ex. 8). He was also involved in wrapping-up

the Experiments in a way that avoided disclosure. J.R. 5816 (Ex. 313).

        TRF complains about a lack of direct evidence that Dr. Soper saw the nonconsensual

experiments when he traveled to Guatemala, or confirmation that he and Dr. Cutler discussed them

while he was at Dr. Cutler’s home. Circumstantial evidence is sufficient and often all that is available

in a conspiracy case, but here there is direct evidence that Dr. Soper knew Dr. Cutler was performing

intentional exposure experiments, “serological tests” on children in an orphanage, and testing in an

asylum where consent could not be freely given. J.R. 2658-59 (Ex. 142); 5001-02 (Ex. 251); 4994 (Ex.

250). He knew that patients were being infected with the “rabbit strain” of syphilis. J.R. 2658 (Ex.

142). And, before Dr. Soper met Dr. Cutler and had dinner in his home, Dr. Cutler indicated that they

would talk about operational security: “[I will] tell him as soon as he arrives . . . that the less he talks

the better.” J.R. 400 (Ex. 10). In reply, Dr. Mahoney stated that Dr. Soper is “the responsible official

of the study and as such entitled to complete confidence.” J.R. 395 (Ex. 8).

                2.      Dr. Parran

        Dr. Parran served as both a Scientific Director at TRF and the Surgeon General from 1936

until 1948. In both capacities, he made the eradication of syphilis the hallmark of his career. J.R. 23-

24 (Ex. 1). He promoted and worked closely with Dr. Moore of Hopkins in both roles. J.R. 4788 (Ex.

217); 4779 (Ex. 215). This relationship made Drs. Parran and Moore “key” players in the effort to

understand and treat syphilis. J.R. 4779 (Ex. 215). His ability to get Dr. Soper “assigned” to the PASB

by TRF shows that he used his powers in both roles.

        TRF knew that Dr. Parran bent and broke ethical guidelines well before 1946, and it either

authorized the behavior or acquiesced to it. Dr. Parran, collaborating with Dr. Moore, presided over

the Tuskegee Study of Untreated Syphilis in the Negro Male, a study that infamously involved the

intentional failure to treat hundreds of African-American sharecroppers suffering from syphilis in



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Alabama. J.R. 4773, 4780 (Ex. 215). And, collaborating with Dr. Moore, he approved and supported

the Terre Haute Experiment. J.R. 26-27; 32 (Ex. 1). A reasonable jury could conclude that Dr. Parran’s

actions in Guatemala were in keeping with his course of conduct both at TRF and as Surgeon General.

        Dr. Parran provided “substantial assistance” to the Guatemala Experiments. He approved its

funding and renewal of funding. J.R. 44-45 (Ex. 1). He had the power to stop the Experiments, but

not only let them continue, he fully supported them. J.R. 534 (Ex. 12). He kept updated on the progress

of the Experiments, was “keenly interested,” almost preoccupied, with the work that was going on,

and signaled that he was not concerned about any potential ethical issues. J.R. 2633 (Ex. 138); 2636

(Ex. 139). And, as stated earlier, he arranged for Dr. Soper to be assigned as “investigator” and

“responsible official” for the Experiments. J.R. 4265 (Ex. 185); 395 (Ex. 8).

        Dr. Parran acted for the purpose of supporting the nonconsensual experiments. He knew that

the Experiments were grossly unethical, giddily acknowledging to a PHS researcher who had returned

from Guatemala that the Experiments could not be performed in the United States. J.R. 2636 (Ex.

139). It is reasonable to infer from this comment that Dr. Parran knew of the nonconsensual nature

of the Experiments. Professor Lombardo, an ethicist who served as a senior advisor to the U.S.

Presidential Commission, has opined that the evidence “suggests that Parran not only knew the details

of Cutler’s work but also endorsed it with full awareness of its ethical toxicity.” J.R. 5252 (Ex. 26);

5261 (Ex. 264). And Dr. Reverby has opined that Dr. Parran supported the Experiments knowing

that they were nonconsensual. J.R. 4783-84 (Ex. 215).

        There is at least a question of fact regarding whether agents of TRF are liable to Plaintiffs

under the ATS for their roles in aiding and abetting or conspiring to perpetrate international human

rights violations.




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II.    THIS CASE INVOLVES A PERMISSIBLE DOMESTIC APPLICATION OF THE ATS
       Defendants do not dispute that a defendant can be liable under the ATS for directly

perpetrating a violation of international norms, and also indirectly by aiding and abetting and/or

conspiring to commit such a violation. See Alvarez III, 275 F. Supp. 3d at 698, 701. Defendants argue

instead that they cannot be liable because the “conduct relevant to the statute’s focus” occurred in

Guatemala, and therefore involves an impermissible “extraterritorial” application of the ATS.

       Defendants’ interpretation of the law is premised upon an erroneous and misleading reading

of the Supreme Court’s decision in RJR Nabisco, Inc. v. European Community, 136 S. Ct. 2090 (2016).

Discussing the second of the two-step framework for analyzing whether conduct sufficiently “touches

and concerns” the U.S. to displace to presumption against “extraterritorial” application of a statute,

the RJR Nabisco Court stated:

               If the conduct relevant to the statute’s focus occurred in the United
               States, then the case involves a permissible domestic application even
               if other conduct occurred abroad; but if the conduct relevant to the
               focus occurred in a foreign country, then the case involves an
               impermissible extraterritorial application regardless of any other
               conduct that occurred in U.S. territory.

Id. at 2101. Defendants focus on the last half of this sentence to support their argument that the only

conduct that matters is the “direct perpetration” of the violation of human rights (here, the actual

human experimentation that occurred in Guatemala).

       Nowhere, however, did the RJR Nabisco Court say that the inquiry should be limited to where

the direct perpetration of the violation occurred. Nor did the Court say that, in an aiding and abetting

or conspiracy case, the location where those actions occurred is irrelevant. To the contrary, the first

part of the Court’s statement explicitly says that “[i]f the conduct relevant to the statute’s focus

occurred” in the U.S., then application of the ATS would be appropriate, “even if other conduct

occurred abroad.” Id.




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        Given that a defendant may be liable under the ATS not just “directly,” but also “indirectly”

for aiding and abetting and/or conspiracy, it only makes sense, therefore, that the “conduct relevant

to the statute’s focus” must be the conduct alleged to have been perpetrated by the defendant

in a particular case. In other words, a court should not limit its analysis, as Defendants have urged,

only to the location where a plaintiffs’ injury occurred, or where the “principal” offense took place.

Instead, the location where the aiding and abetting or conspiracy is alleged to have occurred is also

“conduct relevant to the statute’s focus,” and must be considered in determining whether the conduct

sufficiently touches and concerns the U.S. to overcome the presumption against extraterritoriality.

        This is precisely the conclusion drawn by the Ninth Circuit, which considered this very

question, and held that “[t]he focus of the ATS is not limited to principal offenses.” Doe v. Nestle, S.A.,

906 F.3d 1120, 1125 (9th Cir. 2018), reh’g denied, 929 F.3d 623 (2019). It explained that “the ‘focus’ of

the ATS is on conduct of the defendant which is alleged by plaintiff to be either a direct violation of

the law of nations or conduct that constitutes aiding and abetting another’s violation[.]”8 Id. (quoting

Mastafa v. Chevron Corp., 770 F.3d 170, 185 (2d Cir. 2014) (emphasis added and removed)).




        8
          The cases cited by Defendants actually support Plaintiffs’ argument that aiding and abetting
and conspiracy committed by U.S. Defendants is considered “conduct relevant to the statute’s focus.”
See Jara v. Nunez, 878 F.3d 1268, 1273 (11th Cir. 2018) (emphasis added) (citations omitted) (“This
‘relevant domestic conduct’ may include both primary tortious conduct and affirmative involvement
in the torts of others. For example, actions from within the United States, such as aiding and abetting
and conspiring with a foreign tortfeasor, may displace the presumption against extraterritoriality if
enough of the relevant conduct occurs domestically and if the allegations of domestic conduct are
supported by a minimum factual predicate.”); Doe v. Drummond Co., Inc., 782 F.3d 576, 597-98 (11th
Cir. 2015) (emphasis added) (citations omitted) (“[W]hen considering claims that the defendants aided
and abetted or conspired with the perpetrators who committed the underlying violation, the domestic
or extraterritorial location of all conduct in support of those claims is relevant to the jurisdictional
inquiry.”); Warfaa v. Ali, 811 F.3d 653, 660 (4th Cir. 2016) (emphasis added) (stating under Kiobel that
“[a] plaintiff may rebut the presumption in certain, narrow circumstances: when extensive United
States contacts are present and the alleged conduct bears such a strong and direct connection to the
United States that it falls within Kiobel’s limited ‘touch and concern’ language.”).

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        There is simply no indication from RJR Nabisco, or any other cases cited by Defendants, that

conduct amounting to aiding and abetting and conspiracy would be considered irrelevant conduct, or

outside of the focus of the ATS. In other words, aiding and abetting and conspiring in the United

States to commit an ATS violation is certainly “relevant conduct” to the focus of the ATS, even if the

principal violation took place outside of the U.S.9

        The evidence in this case amply demonstrates that Defendants took numerous significant

actions in the U.S. in order to purposefully aid, abet and conspire with each other, with the federal

government, with the PASB, and with the perpetrators in Guatemala, to design, authorize, fund, staff

and shape the direction of the Experiments, to further insulate the Experiments from outside scrutiny

that could have affected their formation or led to their termination, and to cover up the Experiments

once they had concluded. In addition to the actions described at length above and in Plaintiffs’ cross-

motion, also relevant to the extraterritoriality analysis is the fact that the researchers in Guatemala sent

biospecimens (blood, tissue from the skin, urethra and cervix, and spinal fluids, as well as documents

and photographs of victims) back to the PHS lab in the U.S., where the biospecimen continued to be

used in the United States for years after. J.R. 54, 96, 191, 193, 194, 208, 209 (Ex. 1).

        This conduct relevant to the focus of the ATS – all of which occurred in the United States –

sufficiently touches and concerns the U.S. so as to overcome the presumption against

extraterritoriality, and subjects Defendants to liability under the ATS. See Licci by Licci v. Lebanese

Canadian Bank, SAL, 834 F.3d 201, 219 (2d Cir. 2016) (wire transfers between Hezbollah accounts

through a U.S. bank rebutted presumption against extraterritoriality in a case involving domestic aiding



        9
          Importantly, the Supreme Court did not dismiss Jesner v. Arab Bank, PLC (decided after RJR
Nabisco) on extraterritoriality grounds, even though the principal ATS violation (inflicting death or
injury by terrorism) took place outside the United States, and the Jesner defendants “only” aided and
abetted the violation by transferring funds through domestic bank branches. 138 S. Ct. 1386, 1393-94
(2018); see also William S. Dodge, Presumptions Against Extraterritoriality in State Law, 53 U.C. DAVIS L.
REV. 1389, 1438 n.273 (2020). There is significantly more domestic conduct in this case than in Jesner.

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and abetting of terrorism outside the U.S.); Doe, 906 F.3d at 1126 (conduct of a U.S. defendant in

aiding and abetting child slave labor outside of the U.S. considered “conduct relevant to the statute’s

focus”); Mastafa, 770 F.3d at 195 (conduct that aided and abetted genocide and war crimes, including

oil purchases, delivery, and financing in the U.S., rebutted the presumption against extraterritoriality).

III.    DEFENDANTS ARE NOT ENTITLED TO THE PROTECTION OF ANY IMMUNITY

        Defendants have failed to meet their burden to prove that they may avail themselves of any

type of immunity for their role in the Guatemala Experiments.

        A.      Defendants cannot claim derivative sovereign or derivative absolute immunity

        In support of their argument that they should not be “left holding the bag” for the actions of

government employees, and should be entitled to the same sovereign immunities available to those

employees, Defendants continue to rely on Filarsky v. Delia, 566 U.S. 377, 391 (2012), which gives

them no shelter. The Filarsky Court considered whether a private attorney hired by a municipality was

entitled to qualified immunity under 42 U.S.C. § 1983 for performing the same discretionary function

as a government prosecutor. The issue in that case was qualified immunity, not the absolute immunity

that Defendants seek here. Even if it was the same, however, there is no qualified immunity for

violations of law that are “clearly established,” as is the prohibition against nonconsensual human

experimentation. See Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 673 (2016). Finally, Defendants are

a step removed from the qualified immunity permitted in Filarsky: unlike the prosecutor there,

Defendants were not hired by, and had no agreement with, the U.S. Government, and therefore

cannot avail themselves of the government’s immunity.

        Defendants in their reply brief ignore the bright-line rule established by the Restatement

(Second) of Agency § 217(b)(ii) – namely, that a principal cannot use its agent’s immunity to protect

itself from suit. They instead cobble together a homespun version of “federal common law” to support

their argument, but none of the authority they cite either establishes what the federal common law is,



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or that they – private entities who had no contract with the U.S. Government – should be entitled to

immunity. Specifically, the one federal case cited by Defendants, Van de Kamp v. Goldstein, extended

prosecutorial immunity to supervising prosecutors because the same concerns for immunizing

individual prosecutors apply to the administrative obligations of their supervisors. 555 U.S. 335, 344-

48 (2009). Van de Kamp did not apply derivative immunity in the way Defendants suggest; rather, it

simply extended the grant of prosecutorial immunity.10 Defendants also rely on state law, but state law

is not germane in this case brought under the ATS.11 See Texas Indus., Inc. v. Radcliff Materials, Inc., 451

U.S. 630, 641 (1981) (in “international disputes implicating … our relations with foreign nations …

our federal system does not permit the controversy to be resolved under state law, either because the

authority and duties of the United States as sovereign are intimately involved or because the …

international nature of the controversy makes it inappropriate for state law to control”).

        Defendants are not sovereign entities. They bear no public responsibility, and are not

accountable to any chain of command or electoral constituency that could otherwise remediate

wrongdoing outside of the judicial process. Any authority that the U.S. Government gave to the

perpetrators obviously did not include an instruction to conduct, conspire, or aid and abet

nonconsensual human experimentation in violation of customary international law and federal law.



        10
          In TRF’s separate initial brief, it argued that it was entitled to derivative statutory immunity
under the International Organizations Immunities Act (“IOIA”), 22 U.S.C. § 288a et seq. In their reply,
Defendants have retreated from that assertion and now just draw an analogy to IOIA immunity.
Although the IOIA specifically immunizes international organizations, and representatives, officers
and employees of these international organizations, see 22 U.S.C. §§ 288a(b) & 288d(a), it grants no
other immunity. The IOIA has no application to this case, and Defendants’ claim that failing to grant
it an equivalent immunity would “eviscerate” the IOIA is utter hyperbole.
        11
           As one example of a state law case, Defendants cite Parker v. State, 653 A.2d 436, 443 (Md.
1995), for the proposition that the absolute immunity of a judge extends to his employer. Parker held
merely that Maryland cannot be liable for the actions of its judges because the Maryland Tort Claims
Act does not waive immunity for such suits. See id. (“[A] suit that is barred by judicial immunity cannot
form the basis of a recovery against the State under the Tort Claims Act.”). Parker has nothing to do
with this case and does not draw an appropriate analogy.

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See Al Shimari v. CACI Premier Tech., Inc., 368 F. Supp. 3d 935, 970 (E.D. Va. 2019), appeal dismissed, 775

F. App’x 758 (4th Cir. 2019) (citing Campbell-Ewald Co., 136 S. Ct. at 672-74) (“[T]he Supreme Court

has held that derivative immunity is not guaranteed to government contractors and is not awarded to

government contractors who violate the law or the contract.”); In re KBR, Inc., Burn Pit Litig., 744 F.3d

326, 345 (4th Cir. 2014) (citations omitted) (“The contractor must adhere to the government’s

instructions to enjoy derivative sovereign immunity; staying within the thematic umbrella of the work

that the government authorized is not enough to render the contractor’s activities the acts of the

government.”). Plaintiffs seek to hold Defendants responsible for their conduct relating to the

Experiments. The public policy of holding Defendants responsible for their own actions in designing,

planning, aiding and abetting, and orchestrating the non-consensual human experimentation in

Guatemala against customary international law far outweighs any benefits of providing immunity.

        B.       Defendants cannot claim charitable immunity

        In support of their contention that they are entitled to charitable immunity, Defendants make

three arguments: (1) this Court should look beyond international law to the “federal common law” at

the time of the Guatemala Experiments, which they claim recognized charitable immunity; (2) in the absence

of federal common law, this Court should “fill in the gap” and look to Maryland charitable immunity

law; and (3) other federal statutes have permitted charitable immunity. Each of these are unavailing.

        As to the first, the torts and defenses in an ATS case are controlled by customary international

law, which does not recognize charitable immunity. The absence of this defense is not an interstitial

“gap” to be filled, rather, it marks the limit of state practice and legal opinion on the subject. And,

even assuming that there is a gap, it must be filled by federal common law as it existed at the time this

lawsuit was filed, and not, as Defendants suggest, as the time of the Guatemala Experiments. See Hall v.

A.N.R. Freight Sys., Inc., 717 P.2d 434, 444 (Ariz. 1986) (in banc) (cited by Allstate Ins. Co. v. Kim, 829 A.2d

611, 623-24 (Md. 2003)) (“[A] right vests only when it is actually assertable as a legal cause of action



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or defense,” and until a lawsuit is filed, the assertion of a defense “is contingent upon an event or

condition which may not happen and thus cannot be characterized as a vested right.”); see also Weidner

v. Int’l Telecommunications Satellite Org., 392 A.2d 508, 510 (D.C. 1978) (emphasis added) (“The date upon

which the cause of action arose is not material to the question of immunity. The crucial date is that on

which the complaint is filed.”). The Restatement (Second) of Torts § 895E is the clearest enunciation of

federal common law on the subject, and explicitly holds that charitable immunity does not apply.12

This Restatement was published in 1979, and was well-established when this suit was filed.13

        Regarding Defendants’ second argument, because international and federal common law does

not recognize charitable immunity, there is no “gap” to be filled by state law. In arguing to the contrary,

Defendants continue their habitual practice of cherry-picking quotations from cases, partially quoting

United States v. Kimbell Foods, Inc., 440 U.S. 715, 728 (1979), to support their proposition that federal

courts at times look to state law “to decide ancillary liability matters in claims arising under federal

statutes.” The entire quote from Kimbell, however, does not support Defendants’ position:

                Undoubtedly, federal programs that by their nature are and must
                be uniform in character throughout the Nation necessitate
                formulation of controlling federal rules. Conversely, when there is
                little need for a nationally uniform body of law, state law may be
                incorporated as the federal rule of decision. Apart from
                considerations of uniformity, we must also determine whether


        12
           To make the point that the federal common law expressed in the Restatement rejecting
charitable immunity applied prospectively only, Defendants cite South Carolina and Missouri cases
that applied the abrogation of charitable immunity prospectively. These cases, however, discussed
whether individual state Legislatures intended the legislative abrogation of charitable immunity
statutes to operate retroactively or prospectively. The intentions of state Legislatures have nothing to
do with federal common law about charitable immunity at the time of the Experiments, nor do they
shed any light on how the Restatement provision should be applied.
        13
          Further, the seminal case cited by § 895E was the landmark 1942 case from the D.C. Circuit,
also written prior to the Guatemala Experiments. See President & Directors of Georgetown Coll. v. Hughes,
130 F.2d 810 (D.C. Cir. 1942); see also WILLIAM L. PROSSER, LAW OF TORTS, § 133, pg. 96 (4th ed.
1971) (“[T]hat year a devastating opinion of Judge Rutledge in the Court of Appeals of the District of
Columbia reviewed all of the arguments in favor of the immunity, and demolished them so completely
as to change the whole course of the law.”).

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                application of state law would frustrate specific objectives of the
                federal programs. If so, we must fashion special rules solicitous
                of those federal interests.

Id. (citations omitted) (emphasis added). Considering whether charitable immunity would “frustrate”

the goals of the ATS requires weighing the nature, gravity, and uniformity of ATS actions, and

necessitates the application of federal common law rather than a specific state’s law.14 It would simply

not make sense for an entity to be held liable under the ATS for nonconsensual human

experimentation in one state, but be immune for the same terrible conduct in another.15 Additionally,

applying charitable immunity under Maryland common law would frustrate the specific objective of

the ATS, namely, “to provide a federal forum for adjudicating that narrow set of violations of the law

of nations that, if left unaddressed, threatened serious consequences for the United States.” Jesner, 138

S. Ct. at 1410 (Thomas, J., concurring) (citation omitted).

        Defendants’ third point, that federal statutes accept state charitable immunity, is also

unpersuasive. The first of two cases cited in support of this argument merely held that charitable

immunity can be a defense in cases brought under the Federal Tort Claims Act, because “the applicable

state law defines the scope of the United States’ liability under the FTCA.” Lomando v. United States,

667 F.3d 363, 376 (3d Cir. 2011) (citation omitted). The second case does not even deal with charitable

immunity, but rather, with a statutory cap on non-economic damages in cases brought under the


        14
            Federal common law can also preempt state law under the rules of implied conflict
preemption when the state law stands as obstacle to “an identifiable federal policy or interest” in an
area that is of “unique federal concern.” Boyle v. United Tech. Corp., 587 U.S. 500, 504-12 (1988); see also
Aegis Defense Services, LLC v. Chenega-Patriot Group, LLC, 141 F. Supp. 3d 479, 487 (E.D. Va. 2015)
(“[T]here are a few areas involving uniquely federal interests in which federal common law preempts
state law due to a significant conflict between the federal interest and the state law.”). The ATS
certainly fits that bill. See Jesner, 138 S. Ct. at 1406 (“The ATS was intended to promote harmony in
international relations by ensuring foreign plaintiffs a remedy for international-law violations in
circumstances where the absence of such a remedy might provoke foreign nations ….”).
        15
         Maryland law also limits charitable immunity to the extent there is liability insurance. See Md.
Code Ann., Cts. & Jud. Proc. § 5-632; Ins. § 19-103; Health-Gen. § 19-354. New York, where TRF is
headquartered, abrogated the immunity in 1957. See Bing v. Thunig, 143 N.E.2d 3, 9 (N.Y. 1957).

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Emergency Medical Treatment and Labor Act (EMTALA). See Power v. Arlington Hosp. Ass'n, 42 F.3d

851, 865 (4th Cir. 1994) (“EMTALA explicitly incorporates state law on the issue of damages.”).

Unlike the statutes at issue in those cases, the ATS is not defined by, and does not explicitly

incorporate, state law, but rather, is a statute that requires federal courts to consider international law

and federal common law. See, e.g., Presbyterian Church of Sudan v. Talisman Energy, Inc., 582 F.3d 244, 259

(2d Cir. 2009) (international law); Doe VIII v. Exxon Mobil Corp., 654 F.3d 11, 35 (D.C. Cir. 2011), vac.

on other grounds, 527 F. App’x 7 (D.C. Cir. 2013 (Mem.) (federal common law).

        Finally, as previously stated, public policy dictates that immunities are only recognized when

the benefits of the immunity outweigh the costs. See Mangold v. Analytic Servs., Inc., 77 F.3d 1442, 1447

(4th Cir. 1996). The benefits of allowing a state common law charitable immunity doctrine to insulate

Defendants from liability for their roles in designing, planning, aiding and abetting, and orchestrating

the Guatemala Experiments do not outweigh the costs of depriving the victims of those Experiments

the right to recover for their injuries in this action brought pursuant to the ATS.

IV.     THE SELECTED PLAINTIFFS             EACH HAVE COMPETENT EVIDENCE TO AT LEAST
        GENERATE A JURY QUESTION

        Defendants continue to maintain that the proof amassed in discovery supporting the claims

of the Selected Plaintiffs is not legally sufficient to generate a jury question. Each of their complaints

lacks merit on the facts and/or the law.

        A.      Selected Plaintiffs have proffered evidence that they were involved in the
                Guatemala Experiments

        Every single challenge Defendants launch to support their argument that the Selected

Plaintiffs were not actually victims of the Guatemala Experiments raises, at the very least, a

quintessential question of fact that must be evaluated and determined by a jury at trial:

        1.     Arturo Girón Alvarez: Defendants’ contention that “the only purported
        evidence connecting Mr. Girón Alvarez to the Guatemala Experiments” is a sworn
        statement from his daughter is categorically false. Official records produced by the
        U.S. Government’s National Archives and Records Administration (NARA) – which

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       have been relied upon as the primary contemporaneous source of evidence by the U.S.
       and Guatemalan Government Commissions that have investigated the Guatemala
       Experiments – establish that Arturo Girón Alvarez was infected with syphilis while in
       prison as part of the Guatemala Experiments. J.R. 4342-58 (Ex. 188); 4706 (Ex. 208);
       1270-75 (Ex. 35). These records alone are sufficient to either entitle him to summary
       judgment, or at least take his case to the jury.16

       Additionally, Mr. Alvarez’s daughter has authored a sworn affidavit in which she states
       that she recalls her father telling the family that he was subjected to medical practices
       while imprisoned. J.R. 1850-51 (Ex. 76 (Spanish)); 4198-99 (Ex. 181 (English
       translation)). Defendants say that this is hearsay, but that is a self-serving objection
       given that they declined to depose Mr. Alvarez’s daughter during discovery, even
       though Plaintiffs offered to make her available. Defendants should not be permitted
       to use their refusal to engage in discovery to argue that proof is lacking. Under this
       Court’s rules governing summary judgment, Mr. Alvarez’s daughter’s sworn statement
       need not be admissible at trial if it is being presented to the Court in order to establish
       what admissible evidence Plaintiffs can present at trial – i.e., her live testimony.17 And,
       what Mr. Alvarez told his daughter during his lifetime about his memories of being
       imprisoned constitutes statements about “facts of family or personal history,” which
       are admissible under the hearsay exception of Fed. R. Evid. 804(b)(4).18


       16
          Defendants state that they plan to object to the NARA records as being inadmissible hearsay.
There are multiple hearsay exceptions that apply to these records. First and foremost, they are public
records of the U.S. Government excepted under Fed. R. Evid. 803(8). The Government itself
described these records as being “federal records” when it took control of them. See Mar. 28, 2011
Press Release, “National Archives Releases John Cutler Papers Online,” available at
https://www.archives.gov/press/press-releases/2011/nr11-94.html (“This collection … of
approximately 12,000 pages of correspondence, reports, photographs, and patient records was
donated in September of 1990 to the University of Pittsburgh by Dr. Cutler. In September 2010, the
University contacted the Centers for Disease Control and Prevention to request the transfer of the
material to the Federal government. After examining the material, it was determined that they were
Federal records and they were transferred to the National Archives at Atlanta in October, 2010.”).

        The records are also ancient documents created prior to 1998. Fed. R. Evid. 803(16). Finally,
they are excepted by the “residual exception” of Fed. R. Evid. 807, which permits admission of hearsay
where the evidence is supported by other guarantees of trustworthiness, and is more probative than
any other evidence obtainable by other means. There is no greater proof of the inherent reliability of
these documents than the fact that the U.S. Government and Guatemalan Government relied upon
them in generating their official reports.
       17
          See ECF 180 at p. 5 (“Under Fed. R. Civ. P. 56, as amended in 2010, facts in support of or
opposition to a motion for summary judgment need not be in admissible form; the requirement is that
the party identify facts that could be put in admissible form.” Mallik v. Sebelius, 964 F. Supp. 2d 531,
546 (D. Md. 2013)).
       18
          Fed. R. Evid. 804(b)(4) provides an exception to the hearsay rule, if the declarant is
unavailable as a witness, to statements made about “facts of personal or family history.” “Rule

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       2.      Manuel Chun Mucu: The official records of the U.S. Government produced
       by NARA establish that “Manuel Chun” was purposefully infected in an asylum with
       both gonorrhea and syphilis as part of the Guatemala Experiments. J.R. 4542-4560
       (Ex. 200); 4712-13 (Ex. 208); 1276-77, 1280 (Ex. 35). Plaintiff Manuel Chun Mucu has
       given a sworn deposition in which he testified that he was a prisoner in an asylum
       when he was approximately 15 years old, and that he remembered receiving injections.
       J.R. 790-91 (Ex. 19). Mr. Mucu is still alive and can testify at trial. Although Defendants
       point out factual discrepancies, such as the age Mr. Mucu estimated he was at the time
       of his imprisonment in the asylum decades ago, those are matters for cross-
       examination, and do not entitle Defendants to judgment.

       3.      Francisco Garcia Alvarez: Defendants state that the “only purported
       evidence” connecting Francisco Garcia Alvarez to the Guatemala Experiments is
       inadmissible hearsay: namely, the written declaration of Mr. Alvarez, signed under oath
       when he was still alive during the pendency of this case, in which he attested to the
       fact that he was offered cigarettes by foreign doctors while imprisoned in exchange
       for being stripped naked, examined, and given shots, including in his genitals (which
       began to ooze pus), and that the foreign doctors continued to see him for
       approximately nine months thereafter. J.R. 1844-85 (Ex. 74). Although Mr. Alvarez is
       now deceased, the Court should consider this sworn statement as evidence as a
       statement of personal history under Fed. R. Evid. 804(b)(4). See note 18 supra. The
       Court should also consider the expected testimony of Mr. Alvarez’s family members
       that will be given at trial regarding their recollection of similar statements he made
       before his death. (Defendants also declined to depose a representative of Mr. Alvarez’s
       family although Plaintiffs made one available for deposition.)

       4.      Ramiro Galvez Villalobos. Absent from Defendants’ Reply is any argument
       that there is no evidence connecting Selected Plaintiff Ramiro Galvez Villalobos to the
       Guatemala Experiments. Perhaps that is because there is ample evidence, including
       his own deposition in which he testified to his memory of being injected with what he
       believed to be vaccinations while a school child at the very school where testing is


804(b)(4) assumes that statements of family history are likely to be informed by knowledge shared in
common among family members on the basis of customs and understandings that are likely to be
true.” Porter v. Quarantillo, 722 F.3d 94, 98 (2d Cir. 2013) (citing 5 MUELLER & KIRKPATRICK, FEDERAL
EVIDENCE § 8:133, p. 224 (3d ed. 2007)). A court should ask whether “the circumstances named in
the statement [were] such a marked item in the ordinary family history and so interesting to the family
in common that statements about them in the family would be likely to be based on fairly accurate
knowledge[.]” Id. (citation omitted). The setting that an 804(b)(4) statement was made, including
whether it was made during litigation, does not factor into whether it is admissible. See Tome v. U.S.,
513 U.S. 150, 161 (1995). For cases regarding the application of this exception, see Gagliardi v. Flint,
564 F.2d 112, 116 (3d Cir. 1977) (excepting statement of mother that the decedent worked as a
painter); Leal Santos v. Gonzalez, 495 F. Supp. 2d 180, 185-86 (D. Mass. 2007) (nephew permitted to
testify that his grandmother had told him that she had come to the United States twice as a young
girl); Ramirez v. Clinton, 2011 WL 2838173 *4 (D. Minn. Jul. 18, 2011) (unpublished opinion)
(permitting testimony that a person’s parents “always told her that she was born in the United States”).

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        known to have occurred. In addition, the deposition and Sworn Declaration of the
        former Director of the School states that it is well-known in the community that Mr.
        Villalobos attended the school as a child during the relevant time period. See Cross-
        Motion/Opp. at 49; J.R. 1743-45, 1754-64 (Ex. 77); 5357-58 (Spanish); 5359-60
        (English translation).

        The Selected Plaintiffs have put forth sufficient evidence to take their cases to a jury. See, e.g.

Ecology Servs., Inc. v. GranTurk Equip., Inc., 443 F. Supp. 2d 756, 771 (D. Md. 2006) (“[D]eterminations

concerning witnesses’ memories of events, and the judging of the credibility of witnesses are

impermissible functions for the Court on summary judgment.”).

        B.      Schoolchildren Selected Plaintiffs have presented valid claims

                1.      The basis for the claims of schoolchildren is the same as all other Plaintiffs

        Defendants urge the court not to recognize the claims of schoolchildren Selected Plaintiffs,

who were subject to blood draws and other non-therapeutic procedures without their consent. They

argue that this Court has not held “that battery without exposure to disease is at ATS violation,” so

that permitting these claims would be recognizing an “entirely new cause of action” that “is not

properly before the Court.” They further claim that there is no “ATS jurisdiction” over (admittedly)

“nonconsensual” blood draws, because they are “benign” and do not violate the laws of nations.

        Defendants hyperbolize the legal issue before the Court, while at the same time trying to

narrowly construe the facts relating to the claims of schoolchildren as being merely related to “benign”

blood draws. As to the legal issue, there is no new theory of liability here. The theory of liability has

always been that Plaintiffs are entitled to recover under the ATS because Defendants directly

perpetrated the Guatemala Experiments, or else aided and abetted and conspired to perpetrate them,

in violation of international norms against nonconsensual human experimentation. For three versions

of the Complaint, Plaintiffs have consistently argued that they were victims of nonconsensual medical

experimentation that violated then-existing international norms. Plaintiffs have consistently alleged

that those human experiments involved children in the Puerto de San Jose community.



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        There is, in fact, no dispute that those children were the subjects of medical experimentation.

The purpose of the experiments on children was to find a patient population that had not previously

been exposed to sexually-transmitted disease in order to develop an accurate blood test for detecting

syphilis. The experimentation on schoolchildren was discussed in the U.S. Presidential Report, which

stated that the Experiments:

             •   Involved at least 1,384 Guatemalan children between the age of 1 and 18 years
                 who were subject to non-consensual medical experiments between 1947 and
                 1949;
             •   Involved physical examinations of the schoolchildren’s mouths, skin, lymph
                 nodes, and, in boys, genitals;
             •   Subjected children to multiple blood draws, and in some cases, lumbar
                 punctures; and
             •   Concluded that “[t]here is also no record that the children knew that they were
                 part of an experiment or had an individual parent or guardian consent on their
                 behalf.”19 J.R. 49-53 (Ex. 1).

        Although Defendants attempt to narrowly interpret the schoolchildren’s claims as relating only

to “benign” “diagnostic testing,” it is not possible to separate the multiple blood draws and other

testing performed on schoolchildren from the rest of the Guatemala Experiments. Nor do the

schoolchildren’s claims involve, as Defendants say, “simple negligence” or the failure to obtain

informed consent for one patient on one occasion. Instead, the researchers sought out children

because they could not achieve satisfactory results by using the blood of subjects in the asylum, prison,



        19
            Acknowledging that the children’s parents did not consent, Defendants speculate that
consent was obtained in loco parentis because the school and Guatemalan authorities allowed the
children to be used as research subjects. This is simply not true. As the Supreme Court has repeatedly
explained – including in Defendants’ own citation to Schleifer v. City of Charlottesville, 159 F.3d 843 (4th
Cir. 1998) – the doctrine of loco parentis is only a partial delegation of parental authority limited to that
authority that is necessary to effectuate the specific educational purpose of the school. See also
Vernonia Sch. Dist. 47J v. Acton, 515 U.S. 646, 655 (1995) (emphasis added) (citation omitted) (“[A]
parent may ... delegate part of his parental authority … to the tutor or schoolmaster of his child; who
is then in loco parentis, and has such a portion of the power of the parent committed to his charge, viz.
that of restraint and correction, as may be necessary to answer the purposes for which he is
employed.”) (citation omitted). It cannot plausibly be argued that conducting secret medical
experiments that violate the laws of nations was necessary to effectuate the children’s education.

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or jail. The testing was not “benign,” but rather, was invasive and violated the bodily integrity of the

children in a degrading and inhumane manner. Nor was it “diagnostic”: the serological experiments

performed on children were not separate, concomitant, unrelated, and therapeutic experiments; they

were all part of the same nonconsensual, purposeful, and unethical research as the experiments

perpetrated on victims in the asylum, jail, and prison. All actions perpetrated as part of those

Experiments – including those involving children, and whether or not they involve purposeful

infection with a sexually-transmitted disease – violate customary international law.

       This is the theory of liability that Plaintiffs have pursued throughout this case. The Court need

not recognize a “new” ATS cause of action to allow the claims of schoolchildren to proceed.20

               2.      The “paring down of claims” has been consistent with the Court’s tiered discovery plan

       Although it is true that Plaintiffs have withdrawn one factual allegation relating to the

schoolchildren – namely, Plaintiffs longer plan to contend that any schoolchild acquired a sexually-

transmitted disease as part of the Guatemala Experiments – Plaintiffs are absolutely entitled to

withdraw factual allegations based on evidence adduced during discovery. This happens routinely in

civil litigation, and is not grounds for granting summary judgment.

       Moreover, Plaintiffs did not, as Defendants contend, withdraw this factual allegation because

of “the uncovering of massive fraud.”21 At the outset of this case, the Court specifically held that

Plaintiffs’ counsel were not expected, and it did not wish for them, to prove either in the Third



       20
           The one case Defendants cite in support of their “new legal theory” argument is an
employment law decision of this Court in which it refused to consider a hostile work environment
claim that was not pled in the plaintiff’s complaint, which instead alleged only racial discrimination
and retaliation. See Hood v. Montgomery Cnty., 2019 WL 3225749 (D. Md. Jul. 17, 2019) (unpublished
opinion). For reasons stated above, this case is distinguishable because Plaintiffs have not alleged any
new legal theory of recovery.
       21
         The Court has already denied Defendants’ motion for sanctions related to their
inflammatory accusations of “fraud.” ECF 351.



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Amended Complaint, or even in the initial discovery phase, that all of the Plaintiffs contracted a

sexually-transmitted disease that was “directly” caused by the Experiments. The Court stated that it

would not require Plaintiffs’ counsel to “scurry around” Guatemala gathering up detailed support for

842 individuals. See Estate of Alvarez v. Johns Hokins Univ., 205 F. Supp. 3d 681, 688 (D. Md. 2016)

(“Alvarez II”) (“The Court will not—at the present stage—require the Plaintiffs to provide adequate

foundational allegations for all of the 842 Plaintiffs”); see also ECF 300 (Opp. To Mot. For Sanctions)

at pp. 12-14 (citing hearing transcripts). Instead, the Court repeatedly stated issues of causation and

medical linkage to the Experiments would instead be fleshed out in the course of discovery, and

decided later via summary judgment – i.e. now. See Alvarez III, 275 F. Supp. 3d. at 704.

       The Court’s vision for this case has worked. Plaintiffs’ counsel has, in good faith, pared down

the claims as further evidence has been amassed. Decisions to dismiss the claims of certain classes of

Plaintiffs, or to modify the factual allegations of the schoolchildren’s claims, were not made because

“massive fraud” was “uncovered,” but because Plaintiffs followed the Court’s discovery procedures.22

The withdrawal of one factual allegation relating to the schoolchildren Plaintiffs does not entitle

Defendants to judgment on all of their claims.

       C.      No Plaintiff’s claim is time-barred as a matter of law

       This Court previously held that “an ATS claim does not accrue and the limitations period does

not commence when a plaintiff, through no fault of his or her own, is unaware of an injury’s existence



       22
          Plaintiffs withdrew the factual allegation that schoolchildren were infected with sexually-
transmitted disease because they lost proof supporting that allegation when they were forced to
withdraw an expert witness, Dr. Abdiel Orozco, after he committed perjury at his deposition regarding
photographs that he said were taken of his laboratory. This perjury had nothing to do with the
laboratory testing Dr. Orozco performed or his substantive opinions about which Plaintiffs were
infected, but because Plaintiffs no longer had an expert, they had to withdraw assertions that they
expected to be based on his opinion testimony. In continuing to push their “massive fraud” theory of
the case, Defendants make the unsupported analytical leap that because Dr. Orozco falsely testified
about photos of his lab, it must mean that all of his testing was a lie. To this day, Defendants have no
proof that the testing done by Dr. Orozco was “fraudulent.”

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or factual cause.” Alvarez III, 275 F. Supp. 3d at 685. Focusing on the “injury’s existence” part of this

duo, Defendants continue to insist that what starts limitations running is when a particular plaintiff is

learns that he or she was injected, had their blood drawn, or fell ill. The problem with this argument

is that none of these events is sufficient to give a plaintiff notice of the “factual cause” of that injury.

That component requires knowledge that the person was injected, had blood drawn, or fell ill because

they were a subject in human medical experimentation, or for a harmful purpose, and not for

an innocuous reason. If the plaintiff is unaware that the injection he received purposefully gave him a

sexually-transmitted disease, or his blood was drawn as part of a human experiment, or if his illness

was in fact a sexually-transmitted disease, then the plaintiff does not have knowledge of his injury’s

“factual cause,” and limitations has not begun to run.

        The Supreme Court case cited in this Court’s earlier decision, United States v. Kubrick, 444 U.S.

111, 122 (1979), illustrates this: although the Kubrick Court dismissed that plaintiff’s case as untimely,

it did so because the plaintiff knew “that he was injured, that the injury came from the drug, and who

had given him that drug.” See Alvarez III, 275 F. Supp. 3d at 685. The same cannot be said here. It is

undisputed that none of the Plaintiffs – like the rest of the world – became aware that they were

purposefully being infected with disease, who perpetrated it on them, or that they were human

experiment subjects until, at earliest, 2010, when President Obama made a public apology to the

President of Guatemala.

        At the very least, a jury should consider the nature and extent of each Plaintiff’s knowledge at

trial in order to determine whether limitations on his claim has expired, rendering judgment as a matter

of law in Defendants’ favor inappropriate.

        D.      Defendants’ complaint about the process used to appoint heirs does not entitle
                them to summary judgment

        In support of their argument that the Selected Estate Plaintiffs lack “standing,” Defendants

urge the Court to undertake judicial fact-finding and weigh competing affidavits filed by Guatemalan

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lawyers regarding the procedure to appoint legal representatives under Guatemalan law. Their

objection to the process undertaken by Plaintiffs’ local Guatemalan counsel is supported by

voluminous affidavits of a Guatemalan lawyer that have not been the subject of discovery, and that

were provided to Plaintiffs’ counsel for the first time in these summary judgment proceedings.

        Defendants’ “standing” objection should be denied for several reasons. First, Plaintiffs dispute

that the process undertaken by their local counsel in Guatemala was inadequate to properly appoint

personal representatives for the Selected Plaintiffs. As stated by their local counsel, a professor on the

subject of inheritance law, the cases cited by Defendants are not precedential in Guatemala, and in

any event, are distinguishable from this case. J.R. 5814-15 (Ex. 312).

        Second, it would be premature for the Court to grant summary judgment without first allowing

Plaintiffs to conduct discovery on the opinions offered by Defendants’ new expert identified for the

first time in their motion for summary judgment. Plaintiffs should be afforded the opportunity to

cross-examine this witness prior to any ruling from this Court regarding the state of Guatemalan law.

        Third, it bears repeating that, of the three remaining Selected Estate Plaintiffs, two of the

three were alive at the time this case was filed on April 1, 2015, and therefore had standing. See

Cross-Motion/Opp at p. 75. To the extent Defendants now complain that Plaintiffs have not formally

moved to substitute those individuals’ Estates as parties given their death during the pendency of the

case, that is a ministerial act that can be accomplished at any time. It is expressly allowed under Federal

Rule of Civil Procedure 17, and Plaintiffs can accomplish the substitution at any time. This Court

should not elevate form over substance and grant judgment simply because that has not occurred yet.

                                           CONCLUSION

        For all of these reasons, those stated in Plaintiffs’ Cross-Motion for Summary Judgment and

Opposition to Defendants’ Motion for Summary Judgment on All Claims, and those to be stated at a

hearing on these motions, Defendants’ Motion for Summary Judgment should be denied.



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